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                     Exhibit D
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 Oiling Categories Reported by SCAT Teams as of 5/15/2010




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 Oiling Categories Reported by SCAT Teams as of 6/15/2010




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 Oiling Categories Reported by SCAT Teams as of 7/15/2010




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 Oiling Categories Reported by SCAT Teams as of 8/15/2010




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 Oiling Categories Reported by SCAT Teams as of 9/15/2010




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Oiling Categories Reported by SCAT Teams as of 10/15/2010




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Oiling Categories Reported by SCAT Teams as of 11/15/2010




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 Oiling Categories Reported by SCAT Teams as of 12/15/2010




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 Oiling Categories Reported by SCAT Teams as of 1/15/2011




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 Oiling Categories Reported by SCAT Teams as of 2/15/2011




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 Oiling Categories Reported by SCAT Teams as of 3/15/2011




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 Oiling Categories Reported by SCAT Teams as of 4/15/2011




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 Oiling Categories Reported by SCAT Teams as of 5/15/2011




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 Oiling Categories Reported by SCAT Teams as of 6/15/2011




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 Oiling Categories Reported by SCAT Teams as of 7/15/2011




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 Oiling Categories Reported by SCAT Teams as of 8/15/2011




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 Oiling Categories Reported by SCAT Teams as of 9/15/2011




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 Oiling Categories Reported by SCAT Teams as of 10/15/2011




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 Oiling Categories Reported by SCAT Teams as of 11/15/2011




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 Oiling Categories Reported by SCAT Teams as of 12/15/2011




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 Oiling Categories Reported by SCAT Teams as of 1/15/2012




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 Oiling Categories Reported by SCAT Teams as of 2/15/2012




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 Oiling Categories Reported by SCAT Teams as of 4/15/2012




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 Oiling Categories Reported by SCAT Teams as of 5/15/2012




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 Oiling Categories Reported by SCAT Teams as of 6/15/2012




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 Oiling Categories Reported by SCAT Teams as of 7/15/2012




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25 Jun 2010




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23 Jun 2010




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                 Taylor Declaration
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